18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 1 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 2 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 3 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 4 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 5 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 6 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 7 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 8 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 9 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 10 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 11 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 12 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 13 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 14 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 15 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 16 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 17 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 18 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 19 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 20 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 21 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 22 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 23 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 24 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 25 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 26 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 27 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 28 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 29 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 30 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 31 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 32 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 33 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 34 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 35 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 36 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 37 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 38 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 39 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 40 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 41 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 42 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 43 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 44 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 45 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 46 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 47 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 48 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 49 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 50 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 51 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 52 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 53 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 54 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 55 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 56 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 57 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 58 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 59 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 60 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 61 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 62 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 63 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 64 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 65 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 66 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 67 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 68 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 69 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 70 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 71 of 72
18-01681-WLH11   Doc 543   Filed 11/27/19   Entered 11/27/19 13:24:12   Pg 72 of 72
